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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                           JACKSONVILLE DIVISION

    TROY SMITH, individually and on
    behalf of all others similarly
    situated, BRENDAN C. HANEY,
    individually and on behalf of all
    others similarly situated, and
    GERALD E. REED, IV, individually
    and on behalf of all others similarly
    situated,

          Plaintiffs,

    v.                                             Case No. 3:18-cv-1011-TJC-LLL

    COSTA DEL MAR, INC., a Florida
    corporation,

          Defendant.


                              FINAL JUDGMENT

          The Court has issued a final Order (Doc. 181) regarding approval of the

    settlement in this case, ordering that the parties execute the terms of the

    Settlement Agreement (Doc. 98-1), subject to adjustments in the Court’s

    original approval Order (Doc. 151) and the final Order (Doc. 181).

          Class Counsel shall recover $7,949,000.00 as attorneys’ fees and costs

    from the settlement fund; Objectors Austin Valls, Mitchell George Miorelli, and

    John W. Davis shall recover $17,000.00 each as attorneys’ fees from the

    settlement fund. (Docs. 151, 181). Additionally, Defendant shall deposit
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    $30,000.00 from the settlement fund into the registry of the Court no later than

    March 1, 2022, to be distributed as incentive payments for the three named

    Plaintiffs only if Johnson v. NPAS Solutions, LLC, 975 F.3d 1244 (11th Cir.

    2020), is vacated by the Eleventh Circuit. The parties should notify the Court

    once Johnson is final and seek further instructions.

          The settlement having been approved subject to modifications, and the

    Court having retained jurisdiction to implement, administer, consummate, and

    enforce the Settlement Agreement (Doc. 98-1), the original approval Order (Doc.

    151), the final approval Order (Doc. 181), and this Final Judgment, this case is

    DISMISSED with prejudice. The Clerk shall terminate all pending motions

    and deadlines and close the file.

          DONE AND ORDERED in Jacksonville, Florida the 27th day of

    January, 2022.




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    Copies:

    Counsel of record




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